Case 3:19-cv-00347-LAB-JLB Document 22 Filed 06/17/19 PageID.472 Page 1 of 4




  1 Stephanie R. Tatar – State Bar No. 237792
    TATAR LAW FIRM, APC
  2
    3500 West Olive Avenue, Suite 300
  3 Burbank, California 91505
    Telephone: (323) 744-1146
  4
    Facsimile: (888) 778-5695
  5 Stephanie@thetatarlawfirm.com
  6
      Thomas J. Lyons Jr., Esq.
  7   (Admitted Pro Hac Vice)
      CONSUMER JUSTICE CENTER P.A.
  8
      367 Commerce Court
  9   Vadnais Heights, MN 55127
10    Telephone: (651) 770-9707
      Facsimile: (651)704-0907
11    tommy@consumerjusticecenter.com
12
      Attorney for Plaintiffs
13    Tyanna Walker, Samantha Sanchez,
14    Terry Hunt, Joe Cardenas, Vladimir Tejada,
      Roberto Huerta, Michelle Rice,
15    and the class
16                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
17     Tyanna Walker, Samantha Sanchez,
18     Terry Hunt, Joe Cardenas, Vladimir ) Case No. 3:19-cv-00347-LAB-JLB
       Tejada, Roberto Huerta, and )
19     Michelle Rice on behalf of themselves ) Hon. Larry Alan Burns
20     and of others similarly situated,     ) Courtroom 14A
                                             )
21                         Plaintiffs,       )
22     v.                                    ) JOINT MOTION TO STAY CASE
                                             )    TO ALLOW ARBITRATION
23
       The Control Group Media Company, )
24     Inc., Instant Checkmate, LLC, and ) Action Filed: February 20, 2019
       TruthFinders, LLC,                    ) Am. Complaint: April 2, 2019
25
                                             )
26                         Defendants.       )
27
28                                          1
                                                 JOINT MOTION TO STAY CASE
                                                     TO ALLOW ARBITRATION
Case 3:19-cv-00347-LAB-JLB Document 22 Filed 06/17/19 PageID.473 Page 2 of 4




  1         Plaintiffs Tyanna Walker, Samantha Sanchez, Terry Hunt, Joe Cardenas,
  2 Vladimir Tejada, Roberto Huerta, and Michelle Rice (collectively, “Plaintiffs”) and
  3 Defendants The Control Group Media Company, LLC, Instant Checkmate, LLC,
  4 and TruthFinder, LLC (collectively, “Defendants”) (Plaintiffs and Defendants
  5 collectively referred to as the “Parties”) file this joint motion to stay this case to
  6 allow arbitration.
  7         The Parties agree that the claims in this case should be arbitrated.
  8 Specifically, Plaintiffs are not challenging that they are bound by the mandatory
  9 arbitration and class action waiver provisions set forth in Defendants’ website terms
10 of use and thus their claims must be brought in the claimants’ individual capacity
11 and not in a representative or class capacity before an arbitrator with the American
12 Arbitration Association. The Parties, therefore, request that the Court stay this case
13 to allow the Parties to arbitrate. The Parties further agree that, with the granting of
14 their joint motion, Defendants’ Motion to Dismiss (Doc. 7) will be moot, except to
15 the extent it will be decided in arbitration.
16          Accordingly, the Parties request that the Court (1) stay this case to allow
17 arbitration, and (2) deny Defendants’ Motion to Dismiss (Doc. 7) as moot, without
18 prejudice to Defendants.
19          Dated this 17th day of June, 2019.
20          Respectfully Submitted,
21 By: Stephanie R. Tatar                            David George, Esq.
                                                     (Pro Hac Vice Forthcoming)
22 Stephanie R. Tatar (SBN 237792                    BAKER WOTRING LLP
23 TATAR LAW FIRM, APC                               700 JP Morgan Chase Tower
   3500 West Olive Avenue, Suite 300                 600 Travis Street
24 Burbank, California 91505                         Houston, TX 77002
   Telephone: (323) 744-1146                         Telephone: 713-980-1700
25 Facsimile: (888) 778-5695                         Facsimile: 713-980-1701
   Stephanie@thetatarlawfirm.com                     dgeorge@bakerwotring.com
26
27
28                                               2
                                                         JOINT MOTION TO STAY CASE
                                                             TO ALLOW ARBITRATION
Case 3:19-cv-00347-LAB-JLB Document 22 Filed 06/17/19 PageID.474 Page 3 of 4




 1 Kevin D. Green, Esq.                       Damon W.D. Wright
   (Pro Hac Vice Application                  (pro hac vice application to be filed)
 2 Forthcoming)                               dwdwright@venable.com
 3 CONSUMER ADVOCATE OFFICE                   Christopher S. Crook
   OF KEVIN GREEN                             (pro hac vice application to be filed)
 4 800 Brazos St. Suite 1309                  cscrook@venable.com
   Austin, TX 78701                           600 Massachusetts Avenue NW
 5 Telephone: (512) 695-3613                  Washington, DC 20001
   kevingreen68@gmail.com                     Telephone: (202) 344-4937
 6                                            Facsimile: (202) 344-8300
 7 Thomas J. Lyons Jr., Esq.
   (Admitted Pro Hac Vice)                    Attorneys for The Control Group
 8 CONSUMER JUSTICE CENTER                    Media Company, LLC; Instant
   P.A.                                       Checkmate, LLC; and TruthFinder,
 9 367 Commerce Court                         LLC
10 Vadnais Heights, MN 55127
   Telephone: (651) 770-9707
11 Facsimile: (651)704-0907
   tommy@consumerjusticecenter.com
12
   Attorneys for Plaintiffs Tyanna
13 Walker, Samantha Sanchez, Terry
14 Hunt, Joe Cardenas, Vladimir Tejada,
   Roberto Huerta, and Michelle Rice
15
16
17 By: Daniel S. Silverman
18 VENABLE LLP
   Daniel S. Silverman (SBN 137864)
19 dssilverman@venable.com
   2049 Century Park East, Suite 2300
20 Los Angeles, CA 90067
21 Telephone: (310) 229-9900
   Facsimile: (310) 229-9901
22
23
24
25
26
27
28                                        3
                                                 JOINT MOTION TO STAY CASE
                                                     TO ALLOW ARBITRATION
Case 3:19-cv-00347-LAB-JLB Document 22 Filed 06/17/19 PageID.475 Page 4 of 4




  1                            CERTIFICATE OF SERVICE
  2
            I hereby certify that on June 17, 2019 I electronically filed the foregoing with
  3
    the Clerk of Court using the CM/ECF system which will send notification of such
  4 filing to the e-mail addresses denoted on the Electronic Mail Notice List.
  5        I declare under penalty of perjury that the foregoing is true and correct.
  6
                                                    By:    /s/ Stephanie R. Tatar
  7                                                        Stephanie R. Tatar
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                              1
                                                          JOINT MOTION TO STAY CASE
                                                              TO ALLOW ARBITRATION
